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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA,

       Plaintiff,
                                                        Case No. 09-20238
-vs-                                                    Hon: AVERN COHN

D-3, TERRENCE PRITCHETT,

     Defendant.
________________________________/


                           MEMORANDUM AND ORDER
                     DENYING MOTION FOR RECONSIDERATION

                                              I.

       This is a criminal case. On February 26, 2010, the Court granted bond to defendant

pending trial (Doc. 26). The government has moved for reconsideration of the order

granting bond (Doc. 30). For the reasons that follow, the motion is DENIED.

                                             II.

E.D. Mich. L.R. 7.1(g)(3) regarding motions for reconsideration states:

               Generally, and without restricting the court’s discretion, the
               court will not grant motions for rehearing or reconsideration
               that merely present the same issues rule upon by the court,
               either expressly or by reasonable implication. The movant must
               not only demonstrate a palpable defect by which the court and
               the parties have been mislead but also show that correcting the
               defect will result in a different disposition of the case.

Thus in order to prevail on a motion for reconsideration, a movant must (1) raise a new

issue (2) that represents a palpable defect in the initial decision and (3) will result in a

different disposition in the case.



                                             III.
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      In order to detain a defendant pending trial, a court must find that “no condition or

combination of conditions will reasonably assure the appearance of the person as

required and the safety of . . . the community.” 18 U.S.C. § 3142(e). The government

asserts that defendant’s circumstances have not changed and that he is both a risk of

flight and presents a danger to the community if released on bond pending trial.

                                           A.

      Defendant was indicted on May 28, 2009, for violation of 21 USC §846,

Conspiracy To Possess With Intent To Distribute And To Distribute Controlled

Substances.

      Previously defendant was arrested on a complaint (Doc. 1), filed May 13, 2009,

charging the offense for which defendant was indicted. An order of temporary detention

was entered (Doc. 2). Following a detention hearing on May 14, 2009, defendant was

ordered detained by a magistrate judge (Doc. 3). An appeal of the order was taken to

the presiding judge. Following a hearing, the presiding judge ordered continued

detention on the grounds that defendant did not rebut the presumption that he was a

danger to the community. No formal order was entered by the presiding judge. The

proceedings before the magistrate judge are reflected on a CD; there is a transcript of

the proceedings before the presiding judge.

      The Court held a status conference hearing on November 12, 2009, at which the

defendant appeared in custody, along with his two (2) co-defendants, one of which was

not in custody. At the hearing the following colloquy occurred:

              THE COURT: Okay. Just out of curiosity, why are two of
              them in custody and one not?

              GOVERNMENT ATTORNEY: Difference in criminal history,
              backgrounds, Your Honor.

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             THE COURT: So the magistrate judge ordered these two
             detained and allowed this one to go on bond?

             GOVERNMENT ATTORNEY: That’s correct, Your Honor.

             THE COURT: And no one took an appeal to the Court?

             GOVERNMENT ATTORNEY: That’s correct, Your Honor.

             DEFENDANT’S ATTORNEY: Well, that is correct, Your
             Honor, I did appeal.

             THE COURT: In front of me?

             DEFENDANT’S ATTORNEY: No, there was an emergency
             hearing in front of [the presiding judge] on this, so I did
             appeal that.

             THE COURT: Where was I?

             DEFENDANT’S ATTORNEY: I don’t know, Your Honor.

             SECOND DEFENSE ATTORNEY: I don’t believe you were
             appointed yet. It wasn’t assigned. We weren’t at the
             indictment stage.

             THE CLERK: It was at the complaint stage.

             THE COURT: Okay. But you didn’t renew your request once
             I became the Judge?

             DEFENDANT’S ATTORNEY: No, I did not.

             THE COURT: You thought I was as tough as [the presiding
             judge]?

             DEFENDANT’S ATTORNEY: Yes, I did.

             THE COURT: I’m not going to go there.

      A second status conference hearing was held on February 22, 2010, at which

defendant appeared in custody. The Court again inquired as to why defendant was in

custody, and received the same explanation as before. The Court then said to its case

manager:

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               THE COURT: [Case manager], you will get me the pretrial
               reports, et cetera. I’ll review it and decide whether or not I
               think he should get a hearing, okay, because it’s now my
               case.

                                              B.

       The Court, as will be explained, reviewed the materials relating to the detention.

Because of the inordinate delay in bringing the case to trial, the Court on February 23,

2010, set a bond hearing for February 24, 2010 (Doc. 28). For some reason, neither

defendant’s counsel nor the government received notice of the hearing.

       On February 24, 2010, the Court held a hearing on the custody status of

defendant. His counsel was not present; counsel for the government was present.

Prior to the hearing, the Court listened to the proceedings before the magistrate judge;

read the transcript of the hearing before the presiding judge; and discussed defendant’s

custody status with the Pretrial Services officer assigned to the case, as well as read

her report.

       At the hearing on February 24, 2010, the Court granted defendant bond pending

trial and in explaining its decision said as follows:1

               When defendant was here earlier this week, I asked why he
               was in custody. I was told that there was a bond hearing in
               front of a magistrate judge and she ordered him detained.
               There was a review by the presiding judge and he agreed
               with the magistrate judge. I got the transcript of the hearing
               before the district judge on the appeal. I found the reasons
               the district judge gave deficient in my judgment. I talked to
               the pretrial officer. I went over in detail with the pretrial
               officer defendant’s circumstances. She and I concluded that
               he fit within the pattern of those who we traditionally release
               pretrial. There was nothing exceptional about his
               background or that differentiated him from many others who
               had been charged and had prior drug offenses as being a


       1
           This is an edit of the Court’s remarks.

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              danger to the community. She and I discussed whether he’s
              likely to revert to drug dealing while on pretrial release. The
              pretrial officer didn’t see any risk in release. I likewise saw
              no risk.

              At the last hearing defendant’s family was here. The
              defendant has ties to the community. He has four children.
              Defendant was indicted last May. Here at the end of
              February there has been no progress in the case. There is
              no trial date and no motions have been filed. It is unfair to
              keep defendant in custody.

              I have listened to the detention hearing. I heard nothing in
              the conditions that were described of the arrest or his status
              to suggest that he was a danger to the community and is
              likely to revert to drug dealing.

              Given the length of time defendant has been in custody I
              think it unfair that he continue in custody. He can be
              released safely without danger to the community. I consider
              defendant one of those defendants that gets lost in the
              system. The Court accepts responsibility for that. The Court
              should have been alert and set a trial date as well as a
              motion cutoff and a trial date.

       Accordingly, defendant was released pretrial on a $10,000.00 personal bond.

                                             C.

       The Court, after reviewing the record of this case and the several colloquies

recited above, finds no reason to change its conclusion that defendant is not a flight

risk, does not represent a threat to the community, and is entitled to pretrial release.

       SO ORDERED.


Dated: March 29, 2010                      S/Avern Cohn
                                          AVERN COHN
                                          UNITED STATES DISTRICT JUDGE




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                             CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing document was mailed to the attorneys of
record on this date, March 29, 2010, by electronic and/or ordinary mail.


                                          S/Julie Owens
                                         Case Manager, (313) 234-5160




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